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                        UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                             WILMINGTON DIVISION


    IN RE:                                                CASE NO: 14-04491-5-SWH

    George Allen Piner
    Catherine Mary Piner                                   Adv. Proc. No.: 16-00013-5-SWH
    332 Bristol Road
    Wilmington, NC 28409

    DEBTORS                                               CHAPTER 13




                                CERTIFICATE OF SERVICE

            This is to certify that the undersigned has this date served the attached
    PLAINTIFFS’FIRST SET OF INTERROGATORIES AND FIRST REQUEST
    FOR PRODUCTION OF DOCUMENTS by depositing a copy of the same, enclosed
    in a postage paid wrapper properly addressed to the following parties, at their last known
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    By electronic service through CM/ECF
    Richard Stearns
    Chapter 13 Trustee

    This the 30th day of August, 2016.
    .

                                  /s/ Christopher T. Vonderau
                                  Christopher T. Vonderau
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